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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


PROPERTY OF THE PEOPLE, et al.                                )
                                                              )
                        Plaintiffs,                           )
                                                              )
          v.                                                  )    Civil Action No.
                                                              )    1:18-cv-01817 (RDM)
DEPARTMENT OF JUSTICE, et al.                                 )
                                                              )
                        Defendant.                            )

                                 JOINT STATUS REPORT

          Pursuant to this Court’s Minute Order dated August 23, 2019, Plaintiffs Property

of the People, Inc., and Ryan Noah Shapiro and Defendants Department of Justice and

Department of Homeland Security submit this joint status report. The parties apologize

to the court for the delay in filing.

     1. This case involves three requests by Plaintiffs under the Freedom of Information

Act (“FOIA”), 5 U.S.C. § 552: two requests to the Federal Bureau of Investigation

(“FBI”) and one request to U.S. Citizen and Immigration Services (“USCIS”). See

Complaint, ECF No. 2, ¶¶ 13-14, ¶ 29.

     2. Processing in this case is complete and Plaintiffs have indicated that they

do not intend to challenge the adequacy of Defendants' response to the three

FOIA requests at issue. Therefore, the only issue that remains outstanding is

attorney fees and costs. The parties are currently negotiating the issue in an

attempt to resolve the case without the need for further litigation.

     3.    Additional time is required for the parties to complete their negotiations.

Accordingly, the parties request that they be permitted to submit a further status

report on November 19, 2019.
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                              Respectfully submitted,

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